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                  UNITED STATES BANKRUPTCY COURT
                       DISTRICT OF MINNESOTA




                                   In Re:

                            Donald Andrew Driggs

                                   Debtor.


                              BKY No. 13-42355
                               Chapter 11 Case




         DEBTOR’S FIRST MODIFED PLAN OF REORGANIZATION




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                                          ARTICLE I
                                        INTRODUCTION

 The Debtor, Donald Andrew Driggs, proposes the following First Modified Plan of
 Reorganization dated February 3, 2014 (“Plan”) pursuant to applicable provisions of the
 United States Bankruptcy Code, Title 11 of the United States Code.


                                           ARTICLE II
                                          DEFINITIONS

       1.      “Effective Date” shall mean the thirtieth day after the date on which an Order
               confirming the Plan is entered by the Court, and becomes a final non-
               appealable Order.

       2.      “Code” shall mean the United States Bankruptcy Code, Title 11 U.S.C. §101,
               et seq.

       3.      “Court” shall mean the United States Bankruptcy Court for the District of
               Minnesota, Third Division and/or the United States Bankruptcy Judge hearing
               this case.

       4.      “Debtor” shall mean Donald Andrew Driggs, the debtor-in-possession in this
               bankruptcy case.

       5.      “Plan” shall mean this First Modified Plan of Reorganization dated February
               3, 2014.

       6.      All other terms used in the Plan shall have the meanings ascribed to them in
               the Code, Bankruptcy Rules, commercial practice, and ordinary usage.


                                ARTICLE III
              UNCLASSIFIED CLAIMS: DESCRIPTION AND TREATMENT

 (a)        Priority unsecured tax claims entitled to priority pursuant to §507(a)(8) of the
            Bankruptcy Code include the claims of the United States Internal Revenue
            Service (“IRS”) (to the extent allowed). For the purposes of the Plan, these tax
            claims will include that portion of the IRS claim allowed by the court. These
            claims as identified in the IRS’ proof of claim is estimated to be $5,000, but that
            claims is disputed and to the extent allowed will be paid in full on or before
            within five years of the date of filing, in equal quarterly payments including
            interest at the rate fixed by statute. These payments will begin on the later of the
            last day of the first calendar quarter following the Effective Date, or the last day
            of the first calendar quarter following the date on which the bankruptcy court



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       enters an order allowing this claim and that order has become final and non-
       appealable.

 (b)   Administrative expenses entitled to priority pursuant to §503(d)(2) or §503(a) of
       the Bankruptcy Code excluding any claims included in any other class under the
       Plan. These claims include attorneys’ fees for the Debtor’s attorneys as may be
       approved and awarded by the Court pursuant to §330(a) of the Code. The Debtor
       estimates administrative priority claims for professional persons will be
       approximately $20,000, as of the date of confirmation. Allowed administrative
       expenses entitled to priority pursuant to §503(d)(2) of the Code shall be paid in
       full to the extent allowed by the Court, on the Effective Date, from the Debtor’s
       operating revenues, and from advance retainers paid by the Debtor.

 (c)   Administrative claims entitled to priority pursuant to §503(b)(1) of the Code,
       including trade payables. Debtor estimates that there will be less than $1,000 of
       current trade payables due and owing, which would be entitled to priority under
       §503(b)(1). All such claims shall be paid on the Effective Date or when they
       come due in the ordinary course of business, whichever is later.

 (d)   United States Trustee fees and other court costs and fees assessed, or accessible
       pursuant to 28 U.S.C. §1930(a) and (b). The Debtor estimates that unpaid Trustee
       fees, court fees, and other fees assessable pursuant to these provisions, will be less
       than $1,500 as of the date of confirmation. All such fees and expenses will be
       paid on the Effective Date from Debtor’s income. Debtor shall continue to pay
       those fees authorized and assessed or otherwise payable in accordance with 28 U.
       S. C. § 1930, following confirmation until such time as this Chapter 11 case is
       closed, dismissed or converted. After confirmation of the Plan, the Debtor shall
       submit quarterly operating reports to the United States Trustee each quarter (or
       portion thereof) until this Chapter 11 case is closed, dismissed or converted.
       These reports shall be in the format prescribed by the United States Trustee.

                            ARTICLE IV
           CLASSIFIED CLAIMS: DESCRIPTION AND TREATMENT

 (a)   Class 1: Secured Claim of Citimortgage Loan Services. Class 1 consists of the
       secured claim of Citimortgage Loan Services (“Citimortgage”), arising under a
       note dated January 29, 2003 in the original principal amount of $560,000, which
       is secured by a first mortgage lien on and security interest in the Debtor’s 3990
       Sunset property. As of the date of filing, the balance due to Citimortgage was
       approximately $689,000. The real property securing this debt has a fair market
       value as of the date of filing of $425,000. The Debtor will issue an Amended
       Note in the amount of $425,000 providing for interest at the rate of 4.00%. The
       Amended Note will mature on January 29, 2033. Payments will be made in the
       amount of $2,125, with a balloon payment due and payable on the maturity date.




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 (b)   Class 2: Secured Claim of Nationstar Mortgage. Class 3 consists of the
       secured claim of Nationstar Mortgage (“Nationstar”), arising under a note dated
       November 22, 2004 in the original principal amount of $481,300, which is
       secured by a first mortgage lien on and security interest in the Debtor’s 3245
       Hennepin Avenue property. As of the date of filing, the balance due to
       Nationstar was approximately $462,570. The real property securing this debt has
       a fair market value as of the date of filing of $125,000. The Debtor will issue an
       Amended Note in the amount of $125,000 providing for interest at the rate of
       4.00%. The Amended Note will mature on November 22, 2034. Payments will
       be made in the amount of $597, with balloon payment due and payable on the
       maturity date.

 (c)   Class 3: Secured Claim of Nationstar Mortgage. Class 4 consists of the
       secured claim of Nationstar Mortgage (“Nationstar”), arising under a note dated
       March 16, 2006 in the original principal amount of $910,000, which is secured by
       a first mortgage lien on and security interest in the Debtor’s 2925 Casco Point
       Road property. As of the date of filing, the balance due to Nationstar was
       approximately $766,646. The real property securing this debt has a fair market
       value as of the date of filing of $417,000. The Debtor will issue an Amended
       Note in the amount of $417,000 providing for interest at the rate of 4.00%. The
       Amended Note will mature on March 16, 2036. Payments will be made in the
       amount of $1,991, with balloon payment due and payable on the maturity date.

 (d)   Class 4: Secured Claim of Wells Fargo Bank. Class 5 consists of the secured
       claim of Wells Fargo Bank (“Wells Fargo”), arising under a note dated December
       19, 2002 in the original principal amount of $100,000, which is secured by a first
       mortgage lien on and security interest in the Debtor’s 29317 – 145th Street
       property. As of the date of filing, the balance due to Wells Fargo was
       approximately $131,295.31. The real property securing this debt has a fair market
       value as of the date of filing of $50,000. The Debtor will issue an Amended Note
       in the amount of $50,000 providing for interest at the rate of 4.00%. The
       Amended Note will mature on December 19, 2032. Payments will be made in the
       amount of $287, with balloon payment due and payable on the maturity date.


 (e)   Class 5:          Secured Claim of Chase Manhattan Mortgage Corporation,
        now known as Chase Home Finance, LLC. Class 6 consists of the secured
        claim of Chase Manhattan Mortgage Corporation, now known as Chase Home
        Finance, LLC(“Chase”), arising under a note dated March 20, 2003 in the original
        principal amount of $646,500, which is secured by a first mortgage lien on and
        security interest in the Debtor’s 4400 Deering Island property. As of the date of
        filing, the balance due to Chase was approximately $815,000. The real property
        securing this debt has a fair market value as of the date of filing of $490,000. The
        Debtor will issue an Amended Note in the amount of $490,000 providing for
        interest at the rate of 4.00%. The Amended Note will mature on March 20, 2033.




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        Payments will be made in the amount of $2,340, with balloon payment due and
        payable on the maturity date.
 .
 (f)   Class 6:          Secured Claim of First National Bank of the Lakes. Class 7
        consists of the secured claim of First National Bank of the Lakes (“FNBL”),
        arising under lien upon and security interest in a boat and trailer. As of the date
        of filing, the balance due to FNBL was approximately $5,631.45. The boat and
        trailer securing this debt has a fair market value as of the date of filing of $6,500.
        The Debtor will reinstate FNBL’s note. Payments will be made in the amount of
        $200 per month, over a period of two years, with a balloon due at the end of two
        years. FNBL’s note is treated as fully secured.

 (g)    Class 7:         General Unsecured Claims. Class 8 Unsecured Claims consists
        of all pre-petition, unclassified non-priority claims including the unsecured non-
        priority portion of any tax claim (if any), and the unsecured portion of any
        otherwise secured claims where the claim has been reduced to the current market
        value of the property in accordance with 11 U.S.C. § 506. The amount of
        prepetition unsecured claims is estimated to be $1,950,000. Holders of Class 7
        will receive distributions totaling $50,000. The Debtor will make quarterly
        distributions of $1,800. All quarterly distributions will be prorated to holders of
        Class 7 Claims; with the proration based on the ratio that each holder’s claim
        bears top the total amount of allowed Class 7 Claims. The Debtor may pre-pay
        the amounts due to the holders of Class 7 Claims in whole or in part, at any time,
        in his discretion. If the Debtor pursues any pre-petition litigation claim, and
        prevails and recovers any financial, any such financial award (net of litigation
        fees and costs) shall be distributed to holders of Class 7 Claims as an additional
        extraordinary distribution.


                                 ARTICLE V
                      IMPAIRED AND UNIMPAIRED CLASSES

 Class 1 is unimpaired; all other classes of claims and interests are impaired under the
 Plan.


                                   ARTICLE VI
                              EXECUTORY CONTRACTS

 As of the commencement of the case, the Debtor had no outstanding pre-petition
 executory contracts.



                                 ARTICLE VII
                       MEANS OF EXECUTION OF THE PLAN



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  On the Effective Date, the Debtor shall 1       ted with title to all property of the
  bankruptcy estate herein. The Debtor shall contlnue to operate its business in the
  ordinary course. All distributions and payments made under the Plan shall be funded
  form the Debtor's earnings.
  The Debtor shall issue restated and amended notes to holders of Class 1 through 6
  inclusive. The security interests and liens held by holders of Class 1 through 6, inclusive,
  shall retain the same dignity, priority and extent as afforded pre-petition of the liens or
  security interests asserted by ttie holder of each s uch clain


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                                           R AND I;

   Confirmation of the Plan shall constitute a complete waiver and release of all claims of
   all creditors against the Debtor except as provided for in the Plan, and to the extent
   authorized by 1 1 U.S.C. $1 141. Confmation of the Plan will bind creditors to accept
   payments and the promissory notes provided for in the Plan, and will oblige the Debtor to
   make payments to creditors as providedI for in the Plan and the promissory notes provided
   for in the Plan. Crediton holding j u d g nents agarinst the Debtor on account of or with
   respect pre-petition claims shall not take- any --. to enforce such judgments.
                                               -~...
                                                   action
                                                                                                    .
   The Debtor will move to re-open this ciase- when the plan has been fully administered and
                                                  .   >


   the debtor has completed making the required plan payments and to move the court to
   grant him a discharge in accordance with 11 U. S. C. 1141 (d) (5)


                                     AR                   E IX
                              MODIFICAl                   )FTHE IPLAN
   The Debtor may ame                      Plan in the manner              J for under 1 1 U.S.C.
    1126(a) or (b).


                                                  Re:           I   submitted,



   Dated: February 3,20 14
